        Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 1 of 15




                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                                  WESTERN DIVISION

                                              CIVIL ACTION NO. 3:19-CV-30027


JANE DOE I and
JANE DOE II,
                       Plaintiffs

v.

CITY OF NORTHAMPTON,
ANDREW LINKENHOKER, SUPERINTENDENT,
      (formerly PRINCIPAL),
JOSEPH BIANCA, PRINCIPAL,
      (formerly ASSISTANT PRINCIPAL),
KEVIN BROWN,
BRIAN BAGDON,
CODY HANLON, and
MARY DOES AND JOHN DOES I-V,
                    Defendants

____________________________________



                   FIRST AMENDED COMPLAINT AND JURY DEMAND

                      (LEAVE TO FILE GRANTED ON APRIL 16, 2019)

                                           Introduction

1. Plaintiff Jane Doe I is an individual who is a former student at Smith Vocational High School.

2. Plaintiff Jane Doe II is an individual and is the mother of Jane Doe I.

3. Defendant City of Northampton is a municipal corporation whose principal place of business

is in Northampton, Massachusetts, responsible for the funding and operation of Smith Vocational

High School, through the Board of Trustees of Smith Vocational High School.
          Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 2 of 15




4. Defendant Andrew Linkenhoker is the Superintendent and, at times relevant to this action,

was the Principal of Smith Vocational High School.

5. Defendant Joseph Bianca is the Principal and, at times relevant to this action, was the

Assistant Principal of Smith Vocational High School.

6. Defendant Brian Bagdon, at times relevant to this action, was employed by Smith Vocational

High School as its varsity wrestling coach.

7. Defendant Kevin Brown, at times relevant to this action, was a Security Officer for Smith

Vocational High School.

8. Defendant Cody Hanlon is an individual who is a former student at Smith Vocational High

School.

9. Mary and John Does I-V are individuals whose conduct has not yet been fully identified who

contributed to the harm to the plaintiffs.

10. Plaintiffs timely and duly served presentment letters pursuant to M.G.L. Chapter 258,

Section 4 on defendants City of Northampton and the Trustees of Smith Vocational High School.

11. This court has jurisdiction pursuant to 28 U.S.C. § 1441 and 28 U.S.C. § 1331.

                                         Summary of Facts

12. On or about January 30, 2016, the plaintiff, Jane Doe I, was 15 years old and participated

with the Smith Vocational High School wrestling team at a wrestling tournament.

13. The wrestling team was transported to the meet in a small school bus provided by Smith

Vocational High School, and the bus was operated by defendant Brian Bagdon, the coach of the

wrestling team.
            Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 3 of 15




14. While returning on the bus from the wrestling meet, plaintiff Jane Doe I, who was 15 years

old, was sexually assaulted by defendant Corey Hanlon in the bus, within view of the other

members of the wrestling team, and in close proximity to defendant Bagdon.

15. Neither Coach Bagdon nor a chaperone (name unknown) intervened to stop the sexual

assault or to protect the plaintiff.

16. The incident came to the attention of defendants Joseph Bianca, Vice Principal, Andrew

Linkenhoker, Principal, and Kevin Brown, Security Officer of Smith Vocational High School,

and rather than conducting a proper investigation and taking appropriate actions to protect and

support plaintiff Jane Doe I, they characterized the incident as inappropriate sexual activity and

treated the plaintiff as being at fault.

17. Pursuant to M.G.L., c. 265, s. 23, sexual abuse of a minor child, aged 15 years, is a criminal

offense and pursuant to Massachusetts law, a 15 year old child may not consent to sexual

activity.

18. Defendants Bianca and Brown interrogated the plaintiff in the presence of other school

personnel, and despite knowledge of Jane Doe I’s age and the fact that she was the victim of a

sexual assault, castigated her for the incident, and issued a two day out of school suspension.

19. Prior to the incident, defendants Bianca and Linkenhoker were aware that the plaintiff was

experiencing emotional and psychological issues.

20. Following the incident, rather than providing emotional support and intervention for the

plaintiff, defendants Bianca, Linkenhoker, and Brown treated the plaintiff as a disciplinary

problem and treated her differently from the male perpetrator of the sexual assault.
         Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 4 of 15




21. When information about the sexual assault circulated at the school, the plaintiff became the

target of bullying and harassment by other students.

22. Despite knowledge of this harassment by other students and the fact that plaintiff Jane Doe I

was the victim of a criminal sexual assault, defendants Bianca, Linkenhoker, Brown, and other

agents and employees of Smith Vocational High School failed to properly intervene to protect the

plaintiff.

23. Information about the incident and the defendants’ mischaracterization of the assault as

inappropriate sexual activity by the plaintiff, was disseminated among the teachers and staff of

Smith Vocational High School, and the plaintiff felt disapproval from her teachers and others.

24. As result of the hostile environment that developed within the high school, the plaintiff

suffered severe emotional distress, which began to have a significant negative impact on her

social and academic performance.

25. As the plaintiff’s performance and emotional health deteriorated at the school, rather than

recognizing that plaintiff, Jane Doe I was the victim of a criminal sexual assault and addressing

her emotional needs related to the sexual assault, defendant Bianca issued more disciplinary

actions and denied the plaintiff participation in extracurricular activities.

26. As a result of the sexual assault, the hostile environment in the school created by the

bullying and harassment by other students, the plaintiff's emotional difficulties, and the

interference with her academic and athletic participation at the school, the plaintiff became

despondent, depressed, and severely emotionally distressed.
          Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 5 of 15




27. The actions of defendants Bianca, Linkenhoker, and Brown directly interfered with the

plaintiff’s participation in school activities, caused the plaintiff to suffer harassment and abuse by

other students, and deprived her of the opportunity to pursue her education.

28. Rather than treating Jane Doe I as the victim of a crime, Bianca criticized her and suggested

she was at fault when speaking with Jane Doe I, and made inappropriate and disparaging

comments about Jane Doe I to her mother, Jane Doe II.

29. Jane Doe I eventually transferred to another school, and agents of Smith Vocational High

School caused additional harm by forwarding private (disciplinary) records to her new school,

which included the false and defamatory entry that the plaintiff had engaged in inappropriate

sexual conduct.


                     Count I: Negligence - City of Northampton Through the
                      Board of Trustees of Smith Vocational High School
                                       M.G.L., c. 258, s 2

30. The plaintiffs incorporate by reference paragraphs 1 through 29 above, and make them a part

hereof.

31. The Trustees of Smith Vocational High School, as agents of the City of Northampton,

negligently hired Brian Bagdon as a coach for the wrestling team and negligently failed to

establish procedures, protocols, and/or guidelines and to properly train him to protect the

students under his supervision as the coach of the wrestling team.

32. Brian Bagdon, as coach of the wrestling team and an agent of defendant, City of

Northampton, negligently failed to monitor and control the students under his care and
         Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 6 of 15




supervision during travel from a wrestling tournament, and as a result, the plaintiff was sexually

assaulted and suffered extreme physical and emotional distress.

33. Andrew Linkenhoker, as Principal of Smith Vocational High School and an agent of

defendant Board of Trustees of Smith Vocational High School, negligently hired Brian Bagdon

as a coach for the wrestling team, negligently failed to establish procedures and guidelines and to

properly train him to protect the students under his supervision, and negligently failed to monitor

his performance as a coach.

34. Linkenhoker, as an agent of the City of Northampton, negligently failed to investigate the

plaintiff's assault, negligently castigated and disciplined the plaintiff, rather than recognizing that

she was a victim of sexual assault, negligently failed to provide appropriate emotional support

and intervention to protect her from the hostile environment at the school, and negligently

deprived her of a suitable educational environment.

35. Joseph Bianca, as Vice Principal of Smith Vocational High School and an agent of the City

of Northampton, negligently hired Brian Bagdon as a coach for the wrestling team, negligently

failed to establish procedures and guidelines and to properly train him to protect the students

under his supervision, and negligently failed to monitor his performance as a coach.

36. Bianca negligently failed to investigate the plaintiff's assault, negligently castigated and

disciplined the plaintiff rather than recognizing that she was a victim of sexual assault,

negligently failed to provide appropriate emotional support and intervention to protect her from

the hostile environment at the school, and negligently deprived her of a suitable educational

environment.
          Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 7 of 15




37. Kevin Brown, as the Security Officer of Smith Vocational High School and an agent of the

City of Northampton, negligently failed to investigate the plaintiff's assault, negligently

castigated and disciplined the plaintiff rather than recognizing that she was a victim of sexual

assault, negligently failed to provide appropriate emotional support and intervention to protect

her from the hostile environment at the school, and negligently deprived her of a suitable

educational environment.

38. As a direct and proximate result of the negligence of defendant, the City of Northampton,

through its agents, the plaintiff, Jane Doe I, was sexually assaulted, subjected to unjustified

accusations, demeaned by staff, harassed by fellow students, and forced to endure a hostile

environment at school, and suffered extreme emotional and physical distress, including but not

limited to severe depression, isolation, suicidal ideation, and loss of educational opportunities,

and required psychiatric treatment.



                        Count II: 42 U.S.C. § 1983 - Andrew Linkenhoker

39. The plaintiffs incorporate by reference paragraphs 1 through 38 above, and make them a part

hereof.

40. At all times relevant to this action, defendant Andrew Linkenhoker was acting under color of

state law.

41. Defendant Linkenhoker, as Principal of Smith Vocational High School, had a duty to

conduct a proper investigation into the sexual assault of the plaintiff, a duty to recognize a 15-

year-old was a victim of a criminal sexual assault, pursuant to Massachusetts law, a duty to

provide emotional support and protection within the school environment, and a duty to protect
          Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 8 of 15




the plaintiff’s federal and state due process rights and equal protection with respect to imposing

discipline and protecting the plaintiff, Jane Doe I’s right to education;

42. Defendant Linkenhoker deprived Jane Doe I of her constitutional rights to equal protection,

including but not limited to denying her the protection of Massachusetts law and treating the

plaintiff, Jane Doe I, differently from the male perpetrator of the sexual assault.

43. Linkenhoker deprived the plaintiff of her constitutionally protected due process rights by

imposing discipline on the plaintiff, despite the fact that she was the victim of a criminal sexual

assault, and depriving her of the right to pursue her education without interference.

44. Linkenhoker, intentionally, willfully and without justification, deprived the plaintiff of her

rights, privileges, and immunities secured to her by the Constitution and the laws of the United

States, and the Constitution and laws of the Commonwealth of Massachusetts, including, but not

limited to, her rights to equal protection of law and due process rights to her obtaining education

free from interference.

45. As a result of the violation of her rights, the plaintiff suffered extreme emotional and

physical distress and loss of education opportunities.



                           Count III: 42 U.S.C. § 1983 - Joseph Bianca

46. The plaintiffs incorporate by reference paragraphs 1 through 45 above, and make them a part

hereof.

47. At all times relevant to this action, defendant Joseph Bianca was acting under color of state

law.
         Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 9 of 15




48. Defendant Bianca, as Vice Principal of Smith Vocational High School, had a duty to conduct

a proper investigation into the sexual assault of the plaintiff, a duty to recognize a 15-year-old

was a victim of a criminal sexual assault, pursuant to Massachusetts law, a duty to provide

emotional support and protection within the school environment and to protect the plaintiff’s

federal and state due process rights with respect to imposing discipline and protecting the

plaintiff’s right to education.

49. Defendant Bianca deprived the plaintiff, Jane Doe I, of her constitutional rights to equal

protection, including but not limited to denying her the protection of Massachusetts law and

treating Jane Doe I differently from the male perpetrator of the sexual assault.

50. Bianca deprived the plaintiff of her constitutionally protected due process rights by imposing

discipline on the plaintiff, despite the fact that she was the victim of a sexual assault, and

depriving her of the right to pursue her education without interference.

51. Bianca, intentionally, willfully and without justification, deprived the plaintiff, of her rights,

privileges and immunities secured to her by the Constitution and the laws of the United States,

and the Constitution and laws of the Commonwealth of Massachusetts, including, but not limited

to, her rights to equal protection of law and due process rights to her obtaining education free

from interference.

52. As a result of the violation of her rights, the plaintiff suffered extreme emotional and

physical distress and loss of education opportunities.



                             Count IV: 42 U.S.C. § 1983 - Kevin Brown
          Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 10 of 15




53. The plaintiffs incorporate by reference paragraphs 1 through 52 above, and make them a part

hereof.

54. At all times relevant to this action, defendant Kevin Brown was acting under color of state

law.

55. Defendant Brown, as the Security Officer of Smith Vocational High School, had a duty to

conduct a proper investigation into the sexual assault of the plaintiff, a duty to provide emotional

support and protection within the school environment, and a duty to protect the plaintiff’s federal

and state due process rights with respect to imposing discipline and protecting the plaintiff’s

right to education.

56. Brown deprived the plaintiff of her constitutionally protected rights by imposing discipline

on the plaintiff, despite the fact that she was the victim of a sexual assault, and depriving her of

the right to pursue her education without interference.

57. Brown, intentionally, willfully and without justification, deprived the plaintiff, of her rights,

privileges and immunities secured to her by the Constitution and the laws of the United States,

and the Constitution and laws of the Commonwealth of Massachusetts, including, but not limited

to, her rights to equal protection of law and due process rights to her obtaining education free

from interference.

58. As a result of the violation of her rights, the plaintiff suffered extreme emotional and

physical distress and loss of education opportunities.



                                  Count V: Assault - Cody Hanlon
          Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 11 of 15




59. The plaintiffs incorporate by reference paragraphs 1 through 58 above, and make them a part

hereof.

60. Defendant Cody Hanlon assaulted the plaintiff, by putting her in fear and apprehension of an

indecent, sexual assault.

61. As a direct and proximate result of defendant Hanlon’s assault, the plaintiff suffered

damages, including, but not limited to, fear and extreme emotional distress.



                                Count VI: Battery - Cody Hanlon

62. The plaintiffs incorporate by reference paragraphs 1 through 61 above, and make them a part

hereof.

63. Defendant Cody Hanlon sexually assaulted and battered the plaintiff, by engaging in non-

consensual sexual contact.

64. As a direct and proximate result of defendant Hanlon’s sexual battery, the plaintiff suffered

damages, including, but not limited to, extreme emotional distress, physical injury,

embarrassment, and other damages.



              Count VII: Intentional Infliction of Emotional Distress - Cody Hanlon

65. The plaintiffs incorporate by reference paragraphs 1 through 64 above, and make them a part

hereof.

66. Defendant Hanlon willfully and intentionally subjected the plaintiff to extreme and

outrageous conduct by sexually assaulting her, knowing that the assault would cause extreme

emotional distress.
          Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 12 of 15




67. As a direct and proximate result of defendant Hanlon’s conduct, the plaintiff suffered

damages, including, but not limited to, extreme emotional distress, physical injury,

embarrassment, and other damages.



                     Count VIII: Negligent Infliction of Emotional Distress -
                               City of Northampton Through the
                      Board ofTrustees of Smith Vocational High School -
                                       M.G.L. c. 258, s. 2

68. The plaintiffs incorporate by reference paragraphs 1 through 67 above, and make them a part

hereof.

69. Plaintiff Jane Doe II attempted to intervene to protect her daughter from the hostile

environment in the school, the unjustified disciplinary actions taken against her daughter, and the

extreme emotional distress her daughter was suffering as a result of the assault and her

daughter’s fragile mental and emotional state.

70. Defendants Linkenhoker, Bianca, and Brown, as agents of the Trustees of Smith Vocational

High School, negligently accused plaintiff Jane Doe II’s daughter of initiating the sexual assault

and demeaned her daughter’s character concerning the incident and her daughter’s mistreatment

at Smith Vocational High School.

71. The statements of defendant Linkenhoker, Bianca, and Brown were untrue, and constituted

extreme and outrageous conduct, which the defendants knew, or should have known, would

cause severe emotional distress to plaintiff Jane Doe II.

72. As a result of defendants Linkenhoker, Bianca, and Brown, plaintiff Jane Doe II suffered

extreme emotional distress, embarrassment, depression, and other damages.
          Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 13 of 15




               Count IX: Loss of Consortium - City of Northampton Through the
                     Board of Trustees of Smith Vocational High School -
                                            M.G.L. c. 258, s. 2

73. The plaintiffs incorporate by reference paragraphs 1 through 72 above, and make them a part

hereof.

74. As a direct and proximate result of the negligent conduct of Andrew Linkenhoker, Joseph

Bianca, and Kevin Brown, the plaintiff, Jane Doe II, suffered the loss of consortium of her

daughter, Jane Doe I.

75. The severe harm caused by the conduct by the defendants towards Jane Doe I resulted in

Jane Doe II suffering the loss of support, love, comfort, and companionship of her daughter.



                Count X: Defamation - Joseph Bianca, Mary and John Does I-V,
                          and the City of Northampton Through the
                      Board of Trustees of Smith Vocational High School

76. The plaintiffs incorporate by reference paragraphs 1 through 75 above, and make them a part

hereof.

77. The defendant Bianca and other defendants made slanderous comments regarding the

morality of Jane Doe I, allowed statements in her record to include that she had been involved in

inappropriate sexual activity, and disseminated those records to another institution.

78. Jane Doe I was 15 years old and was the victim of sexual assault, but was characterized as

responsible for the rape which took place on the school bus.

79. As a direct result of the slanderous and libelous comments, Jane Doe I suffered harm to her

reputation and was subject to ridicule.
        Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 14 of 15




                                          Prayer For Relief

WHEREFORE, the plaintiffs respectfully request judgment in favor of plaintiff Jane Doe I, on

Counts I, II, III, IV, V, VI, VII and X, and in favor of plaintiff Jane Doe II on Counts VIII and IX,

and that the Court award the plaintiffs their damages, including, but not limited to compensatory

damages for emotional distress, physical injuries, medical expenses, loss of consortium,

incidental expenses, consequential damages and costs.



                                                       Respectfully Submitted,
                                                       Jane Doe I and Jane Doe II
                                                       By Their Attorneys,

                                                       /s/ Michael Malkovich
                                                       _____________________________
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                                          JURY DEMAND

       The plaintiffs respectfully request a jury trial on all so triable issues.

                                                       /s/ Michael Malkovich
                                                       _____________________________
                                                       Michael Malkovich, Esquire
        Case 3:19-cv-30027-MGM Document 11 Filed 04/16/19 Page 15 of 15




                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on this 16th day of
April, 2019.

                                                      /s/ Michael Malkovich
